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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

VIXICOM, LLC,                                        CASE NO.: 8:16-CV-00703-MSS/JSS

       Plaintiff,
v.

FOUR CORNERS DIRECT, INC.,

       Defendant.
                                      /

              MOTION TO QUASH DEPOSITION NOTICES AND SUBPOENAS

       Defendant Four Corners Direct, Inc. (“Defendant”), by and through undersigned counsel,

seek the entry of an order quashing the notices of depositions and subpoenas served on Defendant,

its principal Martin Lothman, and his wife Lena Lothman and states the following:

       1.        On or about September 23, 2016, Plaintiff Vixicom, LLC (“Plaintiff”) issued

notices of deposition attached hereto as Composite Exhibit “A” (the “Notices”) for depositions

as follows:

              Date         Deponent
              10/7/16      Lena Carlander Lothman
              10/7/16      Martin Lothman
              10/7/16      Corporate Representative for Defendant

       2.        On or about September 23, 2016, Plaintiff issued subpoenas to Mr. and Mrs.

Lothman for “any and all documents in your possession or control relating to Four Corners Direct,

Inc.” Copies of subpoenas are attached hereto as Composite Exhibit “B” (the “Subpoenas”).

       3.        Defendant only has two employees.

       4.        Mr. Lothman is the person with the most knowledge about the Defendant.

       5.        When contacted by Plaintiff’s counsel, Mr. Lothman informed him of his poor

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health due to recent strokes, which makes it impossible for him or his wife to attend a deposition

at this time.

          6.    Notwithstanding being informed of this, Plaintiff unilaterally scheduled the

depositions with two weeks’ notice.

          7.    Further, Plaintiff served Subpoenas for broad documents with only two-weeks’

notice.

          8.    After being retained by Plaintiff on October 5, 2016, undersigned counsel contacted

Plaintiff’s counsel to reschedule the depositions. However, Plaintiff is unwilling to reschedule the

depositions.

          9.    Because of (a) Mr. Lothman’s poor health; (b) the unilateral scheduling of the

depositions; (c) the inadequate time to produce very broad and burdensome documents; and (d)

Defendant’s October 5th retention of undersigned counsel, Defendant respectfully requests entry

of an order quashing the Notices and Subpoenas.

          WHEREFORE, for all the reasons outlined above, Defendant hereby requests this Court

enter an order granting this Motion and granting such further relief as this Court deems appropriate.

          DATED this 6th day of October, 2016.


                                              /s/ Suzy Tate
                                              Suzy Tate
                                              Florida Bar No. 22071
                                              Christopher M. Broussard
                                              Florida Bar No. 95894
                                              Suzy Tate, P.A.
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                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been
furnished by CM/ECF electronic service, electronic mail, and/or U.S. Mail, postage prepaid to
Daniel A. Krawiec, Hinshaw & Culbertson, LLP, One East Broward Blvd, Ste. 1010, Ft.
Lauderdale, FL 33301; and via CM/ECF service to the parties receiving such service in the
ordinary course of business on this 6th day of October, 2016.

                                          /s/ Suzy Tate
                                          Suzy Tate




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